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                                CERTIFICATE OF SERVICE

       I, Gregory J. Flasser, hereby certify that on the 12th day of August 2021, I caused copies of

Hartford’s Motion for Entry of an Order Authorizing Hartford to File Under Seal (I)

Portions of Hartford’s Initial Objection to the Motion of the Coalition of Abused Scouts for

Justice, the Official Committee of Tor Claimants, and the Future Claims Representative to

Strike Testimony Regarding the Reasonableness of the Hartford Settlement, and (II) Exhibit

B to the Declaration of Erin R. Fay in Support of Same to be served via email or first class mail,

where necessary, on the parties listed on the attached Exhibit A.




                                                     /s/ Gregory J. Flasser
                                                     Gregory J. Flasser (No. 6154)
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                       Exhibit A
             Case 20-10343-LSS               Doc 5988-2             Filed 08/12/21    Page 3 of 9
Boy Scouts of America - Master Service List                                                              08/11/2021
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Boy Scouts of America - Master Service List                                                          08/11/2021
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Boy Scouts of America - Master Service List                                                               08/11/2021
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